             Case 23-10541-JDW                        Doc 9   Filed 03/08/23 Entered 03/08/23 14:38:54                           Desc Main
                                                              Document     Page 1 of 5
Fill in this information to identify your case:
Debtor 1               Mark D. Taylor
                          Full Name (First, Middle, Last)
Debtor 2                  Ashley M. Taylor
(Spouse, if filing)       Full Name (First, Middle, Last)
                                                              NORTHERN DISTRICT OF
United States Bankruptcy Court for the                            MISSISSIPPI                                      Check if this is an amended plan, and
                                                                                                                   list below the sections of the plan that
Case number:              23-10541                                                                                 have been changed.
(If known)




Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                     12/17


Part 1:       Notices

To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and priority
                        debts must be provided for in this plan.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                        to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case
                        (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation
                        is filed. See Bankruptcy Rule 3015.

                        The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.

                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                        provision will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                 Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                 Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                       Included                 Not Included


Part 2:       Plan Payments and Length of Plan

2.1          Length of Plan.

The plan period shall be for a period of 60 months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
specified in this plan.

2.2          Debtor(s) will make payments to the trustee as follows:

Debtor shall pay     $858 ( monthly, semi-monthly, weekly, or                 bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                      Direct Pay




APPENDIX D                                                                Chapter 13 Plan                                                 Page 1
           Case 23-10541-JDW                  Doc 9       Filed 03/08/23 Entered 03/08/23 14:38:54                               Desc Main
                                                          Document     Page 2 of 5
Debtor             Mark D. Taylor                                                            Case number        23-10541
                   Ashley M. Taylor

Joint Debtor shall pay       ( monthly,       semi-monthly,       weekly, or    bi-weekly) to the chapter 13 trustee. Unless otherwise ordered by the
court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:




2.3         Income tax returns/refunds.

            Check all that apply
                     Debtor(s) will retain any exempt income tax refunds received during the plan term.

                     Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                     return and will turn over to the trustee all non-exempt income tax refunds received during the plan term.

                     Debtor(s) will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

Part 3:     Treatment of Secured Claims

3.1         Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.).

             Check all that apply.
              None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
      Insert additional claims as needed.

3.2         Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one..

                     None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                     Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
                     amounts to be distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below
                     at the lesser of any value set forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on
                     or before the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

                     The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                     of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                     treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                     creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.


Name of creditor Estimated amount of                      Collateral                 Value of collateral    Amount of secured claim Interest rate*
                 creditor's total claim #


Credit                                           2016 Ford Explorer
Acceptance                                       XLT 2WD 120000
Corporation                    $24,000.00        miles                                    $15,489.00                     $15,489.00           7.00%

Insert additional claims as needed.

#For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:

      Name of creditor                               Collateral                       Amount per month                            Beginning
-NONE-                                                                                                               month


                                                                        Mississippi Chapter 13 Plan                                       Page 2
           Case 23-10541-JDW                   Doc 9       Filed 03/08/23 Entered 03/08/23 14:38:54                              Desc Main
                                                           Document     Page 3 of 5
Debtor             Mark D. Taylor                                                              Case number      23-10541
                   Ashley M. Taylor

* Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District

For vehicles identified in § 3.2: The current mileage is


 3.3       Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                    The claims listed below were either:

                    (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                        acquired for the personal use of the debtor(s), or

                    (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                    These claims will be paid in full under the plan with interest at the rate stated below. Unless otherwise ordered by the court, the
                    claim amount stated on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any
                    contrary amount listed below. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling.

            Name of Creditor                                           Collateral                               Amount of claim          Interest rate*
 Exeter Finance, LLC                          2014 Ford F-150 XLT 4WD 111000 miles                                  $21,709.00                    7.00%
*Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District.

Insert additional claims as needed.

3.4        Motion to avoid lien pursuant to 11 U.S.C. § 522.

Check one.
                    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5        Surrender of collateral.

           Check one.
                   None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.


Part 4:     Treatment of Fees and Priority Claims

4.1        General
           Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
           without postpetition interest.

4.2        Trustee’s fees
           Trustee’s fees are governed by statute and may change during the course of the case.

4.3        Attorney's fees.

              No look fee:     4,000.00

               Total attorney fee charged:             $4,000.00

               Attorney fee previously paid:           $437.00

               Attorney fee to be paid in plan per
               confirmation order:                     $3,563.00

              Hourly fee: $       . (Subject to approval of Fee Application.)

4.4        Priority claims other than attorney’s fees and those treated in § 4.5.

           Check one.

                                                                          Mississippi Chapter 13 Plan                                     Page 3
           Case 23-10541-JDW                 Doc 9       Filed 03/08/23 Entered 03/08/23 14:38:54                              Desc Main
                                                         Document     Page 4 of 5
Debtor            Mark D. Taylor                                                           Case number        23-10541
                  Ashley M. Taylor

                    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5        Domestic support obligations.

                    None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:   Treatment of Nonpriority Unsecured Claims
5.1        Nonpriority unsecured claims not separately classified.

           Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
           providing the largest payment will be effective. Check all that apply.
             The sum of $ 0.00
                  % of the total amount of these claims, an estimated payment of $
             The funds remaining after disbursements have been made to all other creditors provided for in this plan.



             If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $0.00
             Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2        Other separately classified nonpriority unsecured claims (special claimants). Check one.

                    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


Part 6:    Executory Contracts and Unexpired Leases

6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
           contracts and unexpired leases are rejected. Check one.

                    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:    Vesting of Property of the Estate

 7.1       Property of the estate will vest in the debtor(s) upon entry of discharge.

Part 8:    Nonstandard Plan Provisions

8.1        Check "None" or List Nonstandard Plan Provisions
                  None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

                    Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard
                    provision is a provision not otherwise included in the Official Form or deviating from it.
                    Nonstandard provisions set out elsewhere in this plan are ineffective.

                    The following plan provisions will be effective only if there is a check in the box “Included” in
                    § 1.3

                    1.   Absent an objection, andy Proof of Claim filed by the Internal Revenue Service and/or
                         MDOR (priority/secured) shall be paid in full at any applicable statutory rate of interest.
Part 9:    Signatures:

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney


                                                                       Mississippi Chapter 13 Plan                                      Page 4
         Case 23-10541-JDW                  Doc 9       Filed 03/08/23 Entered 03/08/23 14:38:54                             Desc Main
                                                        Document     Page 5 of 5
Debtor           Mark D. Taylor                                                              Case number     23-10541
                 Ashley M. Taylor

The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.
 X /s/ Mark D. Taylor                                                    X /s/ Ashley M. Taylor
     Mark D. Taylor                                                            Ashley M. Taylor
     Signature of Debtor 1                                                     Signature of Debtor 2

     Executed on      March 7, 2023                                            Executed on      March 7, 2023

     648 Massengill Rd                                                  648 Massengill Rd
     Address                                                            Address
     Hickory Flat MS 38633-0000                                         Hickory Flat MS 38633-0000
     City, State, and Zip Code                                          City, State, and Zip Code

     Telephone Number                                                   Telephone Number


X    /s/ Robert H. Lomenick                                             Date     March 7, 2023
     Robert H. Lomenick 104186
     Signature of Attorney for Debtor(s)
     126 North Spring Street
     Post Office Box 417
     Holly Springs, MS 38635
     Address, City, State, and Zip Code
     662-252-3224                                                       104186 MS
     Telephone Number                                                   MS Bar Number
     rlomenick@gmail.com
     Email Address




                                                                      Mississippi Chapter 13 Plan                                     Page 5
